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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA



                                                                Complaint for Violation of Civil
                                                                Rights
                                                                (Prisoner Complaint)
     (Write the full name of each plaintiff who is filing
     this complaint. If the names of all the plaintiffs         Case No.
                                                                         -----------
     cannot fit in the space above, please write "see
                                                                (to be /Wed in by the Clerk's Office)
     attached" in the space and attach an additional
     page with the full list of names.)
                                                                Jury Trial:     D Yes D No
                                                                                (check one)
         -against-




     (Write the full name of each defendant who is
                                                                                                          ....,.•<      :Tl:::-r;i
     being ~ued. If the names of all the defendants                                                                           ) i   Tl
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     cannot fit in the space above, please write "see                                                                  C'j
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     page with the fidl list of names. Do not include                                                                ..;..
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     addresses here.)                                                                                  -...J
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                                                  NOTICE

Federal Rules of Civil Procedure 5 .2 addresses the privacy and security concerns resulting from public
access to electronic court files. Under this rule, papers filed with the court should not contain: an
individual's full social security number or full birth date; the full name of a person known to be a minor; or
a complete financial account number. A filing may include only: the last four digits of a social security
number; the year of an individual's birth; a minor's initials; and the last four digits of a financial account
number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or
any other materials to the Clerk's Office with this complaint.

When submitted for filing, your complaint should be accompanied by the full filing fee or an application to
proceed informa pauperis.
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I.      The Parties to This Complaint

        A.    The Plaintiff(s)

              Provide the information below for each plaintiff named in the complaint. Attach
              additional pages if needed.

                     Name
                     All other names by which you have been known:
                                               \_a, t{\cm V       fur ()e.±\~


                     ID Number
                     Current Institution     \.. . , e.,b~r   Gaf' ,~c..,\-1 °n c..\     ~ n:;,+1-\-\A,-\- i or)
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        B.    The Defendant(s)

              Provide the information below for each defendant named in the complaint, whether
              the defendant is an individual, a government agency, an organization, or a
              corporation. Make sure that the defendant(s) listed below are identical to those
              contained in the above caption. For an individual defendant, include the person's job
              or title (if known) and check whether you are bringing this complaint against them in
              their individual capacity or official capacity, or both. Attach additional pages if
              needed.

              Defendant No . 1
                     Name
                     Job or Title
                     (if known)
                     Shield Number
                     Employer
                     Address                  y L\L\4 ]r~                ~"\l..l%'   ~c\     c._a\l._,.rn'b~°'
                                             5.c..,.   ,9..C\a\o
                     ~ Individual capacity                    D      Official capacity


              Defendant No. 2
                     Name



                                                  2
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                        Job or Title
                        (if known)
                        Shield Number
                        Employer
                        Address


                         D    Individual capacity             D     Official capacity

                Defendant No. 3
                        Name
                        Job or Title
                        (if known)
                        Shield Number
                        Employer
                        Address


                        D     Individual capacity             D     Official capacity

                Defendant No. 4
                        Name
                        Job or Title
                        (if known)
                        Shield Number
                        Employer
                        Address


                        D     Individual capacity             D     Official capacity


II.      Basis for Jurisdiction

         Under 42 U.S.C. § 1983 , you may sue state or local officials for the "deprivation of any rights,
         privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens v. Six
         Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
         federal officials for the violation of ce1iain constitutional rights.




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       A.     Are you bringing suit against (check all that apply):

               □         Federal officials (a Bivens claim)
               ~         State or local officials (a§ 1983 claim)

       B.     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
              immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If you
              are suing under section 19 83, what federal constitutional or statutory right( s) do you
              claim is/are being violated by state or local officials?

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       C.     Plaintiffs suing under Bivens may only recover for the violation of certain
              constitutional rights. If you are suing under Bivens, what constitutional right(s) do you
              claim is/are being violated by federal officials?




       D.     Section 1983 allows defendants to be found liable only when they have acted "under
              color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
              or the District of Columbia." 42 U.S.C . § 1983. If you are suing under section 1983,
              explain how each defendant acted under color of state or local law. If you are suing
              under Bivens, explain how each defendant acted under color of federal law. Attach
              additional pages if needed.                                                                          ,
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III.   Prisoner Status

       Indicate whether you are a prisoner or other confined person as follows (check all that apply):


       □      Pretrial detainee
       □      Civilly committed detainee

       D      Immigration detainee


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      ig/    Convicted and sentenced state prisoner
      D      Convicted and sentenced federal prisoner
      □      Other (explain) _ _ _ _ _ _ _ _ _ _ _ __

IV.   Statement of Claim

      State as briefly as possible the facts of your case. Describe how each defendant was
      personally involved in the alleged wrongful action, along with the dates and locations of all
      relevant events. You may wish to include further details such as the names of other persons
      involved in the events giving rise to your claims. Do not cite any cases or statutes. If more
      than one claim is asserted, number each claim and write a short and plain statement of each
      claim in a separate paragraph. Attach additional pages if needed.

      A.     If the events giving rise to your claim arose outside an institution, describe where and
             when they arose.




      B.     If the events giving rise to your claim arose in an institution, describe where and when
             they arose.

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      C.     What date and approximate time did the events giving rise to your claim(s) occur?

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      D.     What are the facts underlying your claim(s)? (For example : What happened to you?
             Who did what? Was anyone else involved? Who else saw what happened?)

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V.     Injuries

       If you sustained injuries related to the events alleged above, describe your injuries and state
       what medical treatment, if any, you required and did or did not receive.




VI.    Relief

       State briefly what you want the court to do for you . Make no legal arguments. Do not cite any
       cases or statutes. If requesting money damages, include the amounts of any actual damages
       and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.
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VII.   Exhaustion of Administrative Remedies Administrative Procedures

       The Prison Litigation Reform Act ("PLRA"), 42 U.S.C . § 1997e(a), requires that "[n]o action
       shall be brought with respect to prison conditions under section 1983 of this title, or any other
       Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
       administrative remedies as are available are exhausted."

       Administrative remedies are also known as grievance procedures.                                        Your case may be
       dismissed if you have not exhausted your administrative remedies.


                                                                      6
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    A.    Did your claim(s) arise while you were confined in a jail, prison, or other correctional
          facility?

          ~       Yes

          □       No

          If yes, name the jail, prison, or other correctional facility where you were confined at
          the time of the events giving rise to your claim(s).
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    B.   Does the jail, prison, or other correctional facility where your claim(s) arose have a
         grievance procedure?

                  Yes

          □       No
         ✓        Do not know

    C.   Does the grievance procedure at the jail, prison, or other correctional facility where
         your claim(s) arose cover some or all of your claims?

          ~       Yes

          □       No
          □       Do not know

         If yes, which claim(s)?
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    D.    Did you file a grievance in the jail, prison, or other correctional facility where your
          claim(s) arose concerning the facts relating to this complaint?

          □       Yes
          ~       No




                                                  7
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         If no, did you file a grievance about the events described in this complaint at any other
         jail, prison, or other correctional facility?

         ~       Yes

         □       No

    E.   If you did file a grievance:

         1.      Where did you file the grievance?

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         2.      What did you claim in your grievance?                                    ,f"(.f'\~   -;on
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         3.     What was the result, if any?

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         4.     What steps, if any, did you take to appeal that decision? Is the grievance
                process completed? If not, explain why not. (Describe all efforts to appeal to
                the highest level of the grievance process.)

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      F.       If you did not file a grievance :

               1.       If there are any reasons why you did not file a grievance, state them here:

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                          ~~q W-Lr(!_, s+\\\ 1 Y\ t<'d \"'-veni\~ -\--;\'<- / rec.crd.

               2.       If you did not file a grievance but you did inform officials of your claim, state
                        who you informed, when and how, and their response, if any:

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      G.       Please set forth any additional information that is relevant to the exhaustion of your
               administrative remedies.

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               (Note: You may attach as exhibits to this complaint any documents related to the
               exhaustion ofyour administrative remedies.)

VIII. Previous Lawsuits

      The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal
      court without paying the filing fee if that prisoner has "on three or more prior occasions, while
      incarcerated or detained in any facility, brought an action or appeal in a court of the United
      States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
      upon which relief may be granted, unless the prisoner is under imminent danger of serious
      physical injury. " 28 U .S.C. § 1915(g).

      To the best of your knowledge, have you had a case dismissed based on this "three strikes
      rule"?

               D         Yes
               rf       No




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                u-S c. ')v-.'-'c.n't\e.. aM dP Ci,(,,l JCA.\f-e.,-n,.'i-)~ c..,~e..$ -sh'f
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                            CENTRAL CLASSIFICATION

 TO INMATE:            Samuel Barnette

 SCDC#:                231516

 INSTITUTION:          Lieber CORRECTIONAL INSTITUTION

 DORM:                 CA0017B

 FROM:                 Central Classification

 RE:                   Inmate Correspondence

 DATE:                 April 5, 2019

 The attached correspondence must be handled through the kiosk system and/or your
 assigned classification caseworker or case manager. Please submit all requests using the
 proper procedure.

 Thanks.



                                                             Central Classification
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                SOUTH CAROLINA DEPARTMENT OF CORRECTIONS

                          LIEBER CORRECTIONAL INSTITUTION

                       INMATE REQUEST TO STAFF DISPOSITION



TO:            fomate
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                             JJ
                              OV)'\l
                                   ~
                                                                             ' /r
                                                                   SCDC# ?--2;/SJ-tUf'H.T#
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                                                                                                       \._./'r   J

FROM:          Patty Britt - Pooser- [CH (fomnte Clearing House)

SUBJECT:       REJECTED INMATE ftEQUEST TO STAFF MEMBER FOPJVX

DATE:


I am in receipt of your inmate correspondence/Request to Staff Member form (SCDC -19-11 ).
Your correspondence is being rejected in accordance to SCDC Policy, GA-06.04, Request to
Staff Member and returned to you for the h llo\ving reasons:
        Inmates must use the correct fom1 (l<..t;q1.1est to Staff Member SCDC 19-1 1) and
        attachrnents will not be accepted.                                       .
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        (to the a ~ r e a ) and must b e limited to a single sheet.

        Inmates are prohibited from sending duplicate or similar RTSM to multiple staff
        members.

        The RTSM is intended for use by an individual imnate. (An inmate may not send a
        RTSM form from multiple in1nates).

        You wili have to ent:er your conce , ns throu&l-i the KIOS K (Autof'.rnted Request to Staff
        System.)
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                                         SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                                 REQUEST TO STAFF MEMBER

.- TO: NAME:                                                       TITLE:     Lieb~r         r(];s-1--.   DATE:
                                                                                    /-leAo.                                             .
  Wo.rden W//1/ot()S                                                             Warder,                   /Jj>,--J I .;1   Jo/Cf ...
 INMATE'S NAME:                                                                                           SCDC#:
  Sa.    Tn\.,\,e..       \..c.. rno n +-         'J;>c..r nd-+-e..                                       c). 3151&,
 INSTITUTION:                                                                                             LIVING QUARTERS:
                                                                                                           (_oo(kr- /J-17 .·




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        1n ~ o I~.           r(), (g a. · he4r,'v> ·                    ui         ? , o)
 DISPOSITION BY STAFF MEMBER:




                                                                                                                    ...




 DATE:                                                     SIGNATURE:


 SCDC FORM 19-11 (REV.FEB 2001)
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                                              ...   -
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    If so, state which court dismissed your case, when this occurred, and attach a copy of the
    order if possible.




    A.     Have you filed other lawsuits in state or federal court dealing with the same facts
           involved in this action?

           □      Yes
           ~      No

    B.     If your answer to A is yes, describe each lawsuit by answering questions 1 through 7
           below. (If there is more than one lawsuit, describe the additional lawsuits on another
           page, using the same format.)

           1.     Parties to the previous lawsuit

                  Plaintiff( s)
                  Defendant(s)

           2.     Court (if federal court, name the district; if state court, name the county and
                  State)



           3.     Docket or index number




           4.     Name of Judge assigned to your case




           5.     Approximate date of filing lawsuit




           6.     Is the case still pending?

                   □       Yes

                   □       No

                   If no , give the approximate date of disposition.


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         7.      What was the result of the case? (For example: Was the case dismissed? Was
                judgment entered in your favor? Was the case appealed?)




    C.   Have you filed other lawsuits in state or federal court otherwise relating to the
         conditions of your imprisonment?

         □      Yes
         rg/    No

    D.   If your answer to C is yes,_ describe each lawsuit by answering questions 1 through 7
         below. (ff there is more than one lawsuit, describe the additional lawsuits on another
         page, using the same format.)

         1.     Parties to the previous lawsuit

                Plaintiff( s)
                Defendant(s)

         2.     Court (if federal court, name the district; if state court, name the county and
                State)




         3.     Docket or index number




         4.     Name of Judge assigned to your case




         5.     Approximate date of filing lawsuit




         6.     Is the case still pending?

                 □       Yes

                 □       No


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                     If no, give the approximate date of disposition. _ _ _ _ _ _ _ _ __

             7.      What was the result of the case? (For example: Was the case dismissed? Was
                     judgment entered in your favor? Was the case appealed?)




IX.   Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and belief that this complaint: (1) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
      of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
      modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
      if specifically so identified, will likely have evidentiary support after a reasonable opportunity
      for further investigation or discovery; and (4) the complaint otherwise complies with the
      requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
             related papers may be served. I understand that my failure to keep a current address
             on file with the Clerk's Office may result in the dismissal of my case.

             Date of signing:   t-.f\qy 9   , 20\'\.

             SignatureofPlaintiff            J~             '),a..~       G~ S--
             Printed Name of Plaintiff        '.50-rn½e.\ Lo.man\-     -~qxneJ.\.~    §
             Prison Identification #_~'d:_:::::
                                           3::. ._)~5:. ._l.:._6- =------------------
             Prison Address           0 , J;) C>X d O 5
                                   ·~ •
                                 R~c\c~fU~,\\e .i S~-   9-947c?-
                                City                        State                  Zip Code
      B.     For Attorneys

             Date of signing: _ _ _ _ _ , 20_

              Signature of Attorney
              Printed Name of Attorney
              Bar Number
             Name of Law Firm


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          Address
          Telephone Number
          E-mail Address




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